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                                                                                                     ESCROW ACCOUNT         Page 3 of 8
                                                                                                                    DISBURSEMENTS
                  Rushmore Loan Management Services                                         MORTGAGE INS                                    $2,228.04
                  P.O. Box 814529                                                           HAZARD INS                                      $1,702.41
                  Dallas, TX 75381                                                          COUNTY TAX                                      $3,262.70



  ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
  AND CHANGE OF PAYMENT NOTICE PREPARED FOR

      Loan Number:
      Analysis Date: 01/27/2021

                                                                                            NEW MONTHLY PAYMENT IS AS FOLLOWS
                                                                                            Principal and Interest                          $1,323.37
                                                                                            Required Escrow Payment                           $599.43
                                                                                            Shortage/Surplus Spread                              $.00
           JESSICA K WEST                                                                                                                        $.00
                                                                                            Optional Program Payment
           5323 CRAIGS CREEK DR                                                                                                                  $.00
                                                                                            Buydown or Assistance Payments
           LOUISVILLE KY  40241-4843                                                                                                             $.00
                                                                                            Other
                                                                                             TOTAL MONTHLY PAYMENT                         $1,922.80
                                                                                             NEW PAYMENT EFFECTIVE DATE                   04/01/2021



  FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN DISCHARGED IN
  BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS NOT AN ATTEMPT TO COLLECT A DEBT.
  PLEASE NOTE THAT EVEN IF YOUR DEBT HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO
  LONGER PERSONALLY LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAW,
  PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

  Rushmore Loan Management Services has completed an analysis of the escrow account. We have adjusted the mortgage payment to reflect changes
  in the real estate taxes and/or property insurance. The escrow items to be disbursed from the account are itemized above. If you have questions
  regarding this analysis, please write to our Customer Service Department at Rushmore Loan Management Services, P.O. Box 814529, Dallas, TX
  75381, or call toll-free 1-888-616-5400.
  In the event you utilize a third party to remit your payments, please inform them of the effective date of any change in your payment.

                                     ANNUAL ESCROW ACCOUNT PROJECTION FOR THE COMING YEAR
  This is an estimate of activity in the escrow account during the coming year based on payments anticipated to be made from the account.
                     PAYMENTS TO                                         PAYMENTS FROM                                         ESCROW ACCOUNT
                   ESCROW ACCOUNT                                        ESCROW ACCOUNT                                             BALANCE
                                              MIP/PMI         TAXES           FLOOD           HAZ. INS.         SPECIAL     PROJECTED     REQUIRED
     MONTH
     STARTING BALANCE                                                                                                        $524.61-          $1655.03
     APR   21               $599.43         $185.67                                        $1702.41                         $1813.26-           $366.38
     MAY   21               $599.43         $185.67                                                                         $1399.50-           $780.14
     JUN   21               $599.43         $185.67                                                                          $985.74-          $1193.90
     JUL   21               $599.43         $185.67                                                                          $571.98-          $1607.66
     AUG   21               $599.43         $185.67                                                                          $158.22-          $2021.42
     SEP   21               $599.43         $185.67                                                                          $255.54           $2435.18
     OCT   21               $599.43         $185.67                                                                          $669.30           $2848.94
     NOV   21               $599.43         $185.67       $3262.70                                                          $2179.64-             $0.00 *
     DEC   21               $599.43         $185.67                                                                         $1765.88-           $413.76
     JAN   22               $599.43         $185.67                                                                         $1352.12-           $827.52
     FEB   22               $599.43         $185.67                                                                          $938.36-          $1241.28
     MAR   22               $599.43         $185.67                                                                          $524.60-          $1655.04

   *Indicates a projected low       point of    $2,179.64-.    Under the mortgage contract, state or federal law, the lowest                     monthly
   balance should not exceed               $ 00. The difference   between the projected   low point and the amount required                      is    $490.21   .
   This is the surplus.




            Please keep this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.


       IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN THAT YOU ARE
       ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS WAS CALCULATED BASED ON AN
       ASSUMPTION THAT THE ACCOUNT IS CURRENT ACCORDING TO THE TERMS OF THE NOTE AND
       MORTGAGE/DEED OF TRUST. IF THE ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS
       ANALYSIS MAY NOT REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
       PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS $50 OR GREATER,
       THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED THE ACCOUNT IS CURRENT UNDER
       THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST.




  LOAN NUMBER                                                                                             SURPLUS AMOUNT                    $490.21

  NAME     JESSICA    K WEST


  IF THERE ARE ENOUGH FUNDS IN THE ACCOUNT TO DISBURSE THE PROJECTED OVERAGE AND THE ACCOUNT
  IS CURRENT, THEN THE REFUND WILL BE MAILED TO YOU WITHIN 30 DAYS.
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   Loan Number:                                                                          Name: JESSICA K WEST

                     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - ACCOUNT HISTORY
   This is a statement of actual activity in the escrow account from 04/2020       through 03/2021.   Last year's projections    are
   next to the actual activity. The most recent mortgage payment was $1,922.08         of which     $598.71   went to the escrow
   account and the remainder of     $1,323.37      went towards the mortgage loan. An asterisk (*) indicates a difference     between
   a projected   disbursement and actual activity.
                  !"#$%&' &) $'*+), !**)-%&          !"#$%&' .+)# $'*+), !**)-%&                                 $'*+), /!0!%*$ *)# !+1')%
                    PROJECTED      ACTUAL               PROJECTED          ACTUAL              DESCRIPTION            PROJECTED           ACTUAL
   MONTH
   STARTING BAL.                                                                                                      $1636.08          $3976.00-
    APR   20        $598.71       $585.87*             $189.68                 *                MIP INSURANC          $2045.11          $3390.13-
    APR   20                                          $1711.33                 *                HAZARD INS.            $333.78          $3390.13-
    APR   20                                                            $185.67*                MIP INSURANC           $333.78          $3575.80-
    MAY   20        $598.71                 *           $189.68                *                MIP INSURANC           $742.81          $3575.80-
    MAY   20                                                            $185.67*                MIP INSURANC           $742.81          $3761.47-
    JUN   20        $598.71                 *           $189.68                *                MIP INSURANC          $1151.84          $3761.47-
    JUN   20                                                            $185.67*                RBP/FHA INSU          $1151.84          $3947.14-
    JUL   20        $598.71                 *           $189.68                *                MIP INSURANC          $1560.87          $3947.14-
    JUL   20                                                            $185.67*                RBP/FHA INSU          $1560.87          $4132.81-
    AUG   20        $598.71                 *           $189.68                *                MIP INSURANC          $1969.90          $4132.81-
    AUG   20                                                            $185.67*                RBP/FHA INSU          $1969.90          $4318.48-
    SEP   20        $598.71                 *           $189.68                *                MIP INSURANC          $2378.93          $4318.48-
    SEP   20                                                            $185.67*                RBP/FHA INSU          $2378.93          $4504.15-
    OCT   20        $598.71       $585.87*              $189.68                *                MIP INSURANC          $2787.96          $3918.28-
    OCT   20                                                            $185.67*                RBP/FHA INSU          $2787.96          $4103.95-
    NOV   20        $598.71                 *          $189.68                 *                MIP INSURANC          $3196.99          $4103.95-
    NOV   20                                          $3196.99         $3262.70*                COUNTY/PARIS             $0.00          $7366.65-
    NOV   20                                                            $185.67*                RBP/FHA INSU             $0.00          $7552.32-
    DEC   20        $598.71       $585.87*              $189.68                *                MIP INSURANC           $409.03          $6966.45-
    DEC   20                                                            $185.67*                RBP/FHA INSU           $409.03          $7152.12-
    JAN   21        $598.71      $5987.10*              $189.68                *                MIP INSURANC           $818.06          $1165.02-
    JAN   21                                                            $185.67*                RBP/FHA INSU           $818.06          $1350.69-
    FEB   21        $598.71       $598.71               $189.68                *                MIP INSURANC          $1227.09           $751.98-
    FEB   21                                                            $185.67*                RBP/FHA INSU          $1227.09           $937.65-
    MAR   21        $598.71       $598.71               $189.68                *                MIP INSURANC          $1636.12           $338.94-
    MAR   21                                                            $185.67*                RBP/FHA INSU          $1636.12           $524.61-

   Last year, we anticipated that payments from the escrow        account would be made during this period totaling             $7,184.48.
   The lowest monthly balance should not have exceeded               $.00, the lowest amount required by the mortgage           contract, state
   or federal law.

   OVER THIS PERIOD, AN ADDITIONAL                $.00 WAS     DEPOSITED INTO THE ESCROW ACCOUNT FOR NTEREST ON ESCROW.

   The actual lowest monthly balance was less than               $.00. The items with    an asterisk on the account   history   may
   explain this, if you would like a further explanation,    please call our toll-free   number:    1-888-616-5400.
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                P.O. Box 55004                          ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                Suite 100
                Irvine, CA 92619

                www.rushmorelm.com




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THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
TRUST.

*If there is an amount listed in the “Actual” column under Payments To Escrow Account on
Page 2 above, then this is the assumption that was made and indicates the amount that
would have been paid into escrow for a contractually current loan. This number does not
represent payments that were actually made by you. As discussed above, these escrow
calculations are calculated based on an assumption that the account would be current
according to the terms of the note and mortgage/deed of trust.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2021, a copy of Notice of Mortgage Payment Change
was served on the following registered ECF participants, electronically through the court’s ECF
System at the email address registered with the court:

Richard A. Schwartz

William W Lawrence

Office of the U.S. Trustee


and on the following by ordinary U.S. mail addressed to:


Jessica K West
5323 Craigs Creek Drive
Louisville, KY 40241




                                                 /S/ LeAnn E. Covey
                                                 LeAnn E. Covey, Esquire
